                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISON
                     DOCKET NO. 3:05CR104-20-V


UNITED STATES OF AMERICA              )
                                      )
          v.                          )        O R D E R
                                      )
GRADY DONNELL EADES,                  )
                                      )
               Defendant.             )
__________________________________


     THIS MATTER is before the Court on the Defendant’s “Motion For

Forensic Evaluation” filed June 10, 2005, and his “Amended Motion

For Forensic Evaluation” and “Amended Notice Of Intention To Raise

An Insanity Defense” both filed June 13, 2005, seeking evaluation

of the Defendant   pursuant to 18 U.S.C. §§ 4241 and § 4242.             The

motion(s) will be granted, as set forth below.

     Upon examination of the record, as well as the subject Motions

and Notice, the Court finds that there is reasonable cause to

believe that the Defendant may presently be suffering from a mental

disease or defect rendering him mentally incompetent at the time of

the alleged offenses and/or mentally incompetent at the present

time to understand the nature and consequences of the proceedings

against him or to assist properly in his defense.

     Accordingly, IT IS HEREBY ORDERED:

     1.   That, pursuant to 18 U.S.C. § 4247(b), the
          defendant is committed forthwith to the custody of
          the Attorney General for placement in a suitable
          facility for the purpose of a psychological or
          psychiatric examination of defendant pursuant to 18



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          U.S.C. §§ 4241(a) and (b) and 4242(a);



     2.   That the time period for the examination be
          calculated to begin upon the defendant’s
          arrival at the designated institution; and

     3.   That the report of the results of such examination
          be filed with the Court with copies provided to
          defense counsel and the United States Attorney as
          required by 18 U.S.C. § 4247(c).

     The Clerk is directed to send copies of this Order to defense

counsel, the United States Attorney, and the United States Marshal,

with two additional copies of transmittal by the Marshal to the

Warden of the designated institution.

     SO ORDERED.




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                     Signed: June 14, 2005




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